
691 S.E.2d 712 (2010)
STATE of North Carolina
v.
Mario L. GONZALEZ.
No. 496P09.
Supreme Court of North Carolina.
January 28, 2010.
Irving Joyner, Durham, for Mario L. Gonzalez.
J. Aldean Webster, III, Assistant Attorney General, for State.

ORDER
Upon consideration of the petition filed on the 7th of December 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*713 "Denied by order of the Court in conference, this the 28th of January 2010."
